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                       IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA
 American Environmental Enterprises, Inc.    :
 d/b/a THESAFETYHOUSE.COM                    :
                        Plaintiff,           :
 v.                                          :  CIVIL ACTION
 Manfred Sternberg, Esquire; Manfred         :  No. 2022-CV-00688(JMY)
 Sternberg & Associates, PC; Charlton        :
 Holdings Group, LLC; Samuel Gross; Gary :
 Weiss; A. Solar, LLC; Daphna Zekaria, Esq.; :
 and, Sokolski & Zekaria, PC,                :
                        Defendants,          :
                                             :

                                            ORDER

       AND NOW, this _____ day of ___ 2024, upon consideration of Plaintiff’s Motion to Compel

Discovery from Sternberg Defendants After 7/19/24 Discovery Deadline and for Sanctions, and to

Conduct De Bene Esse Depositions [ECF 183], Defendants Manfred Sternberg Esquire, and Manfred

Sternberg & Associates, PC’s Response in Opposition thereto, and for good cause shown, it is hereby

ORDERED and DECREED that Plaintiff’s Motion is DENIED.



                                                      ___________________________________
